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United States v. Reality Leigh Winner
CR 117-34

Government’s Response to Defendant’s
Motion to Suppress

Attachment E — Partial

Transcripts of Recorded
Phone Calls of Defendant
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Partial Transcript Attachment D-1

Call 10.62.0.21-70872fb00a3e0015751f265a4ba0a591 booking.wav

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

BILLY WINNER-DAVIS:

WINNER:

Time: 1:43-3:36

And | do believe that | mean when | spoke with FBI, they were saying don’t act
like you’re never coming back to your house again, um. But | am kinda almost
preparing for that —

Oh God.

Um, so, um, obviously | don’t expect you guys to drop everything and go do
anything for Mina, but, the shelter will have her and Kathy knows, and we can
surrender her or you can come pick her up.

Ok.

And maybe see, we can just see what’s going on on Monday, but there are
perishables in the fridge, and | might need someone to help me out with my
house.

Ok alright. So should we wait for Monday or should we, um, just, should we plan
on - on heading up?

Kathy will contact you and you should make the decision regarding Mina.
Ok, |, well, of course I'll take her.

Ok yeah so she will be, uh, she’ll just need to be picked up probably when you
guys come out to Augusta. But | know —

Ok.

Will help out and he can tell Kathy as much as she needs. But | had one phone
call to make and | kinda had to call her because | had a bunch of FBI guys
worrying about my dog. Like they were freaking out about my dog.

Aww (sigh) that was sweet, that was sweet, yeah. Um, so, ok, so, um, so —
Are you ok?

Um, I’m a little startled, I’m a little scared for you. I’m scared. Um, but so should
we just make plans on on heading up there and then, um, is it well —

Yeah.

ATTACHMENT E-1
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WINNER:

BRITTY:

WINNER:

BRITTY:

WINNER:

BRITTY:

Partial Transcript Attachment D-2

Call 752ac5840a4200152ea446544f5f9f77 winner3.wav

Time: 7:53-8:38

Nikki’s getting picked up tonight from the shelter. | told Ms. Kathy that I’m not
sure what my parents are going to be able to do, and the FBI only gave me five
minutes to make phone calls -

| see.

So | called her first, she’s picking up Mina, and she has mom’s phone number so
as soon as mom and Gary get to Georgia they’re going to go pick up Mina at
least, and Nikki will stay back at the shelter, but they’re safe and in the house.

Ok.

Everybody was really worried about them when they searched my house. Bunch
of dog people.

Bunch of dog people yeah.

ATTACHMENT E-2
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WINNER:

BILLY WINNER-DAVIS:
WINNER:
BILLY WINNER-DAVIS:
WINNER:
BILLY WINNER-DAVIS:

WINNER:

Partial Transcript Attachment D-3

Call 758bb74a0a3e0015751f265a7517e6f1 winner4.wav

Time: 13:24-13:56

And | just wanna see you guys, and | wanna see my cat and my dog. Oh I’m not
gonna see my dog —

Yeah | know.

Visit her —

Yeah, | know.

| feel really bad, | didn’t let her sleep with me Friday night cause | was —
Aww.

| know, we didn’t snuggle. They let me hug her while we were waiting. They
were searching the house, and | just went in the backyard and sat with her.

ATTACHMENT E-3
